         Case 2:19-cv-02553-JMY Document 93
                                         92 Filed 08/22/23 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    UNITED STATES OF AMERICA ex rel.
    ELLSWORTH ASSOCIATES, LLP,

                             Plaintiff-Relator,            Case No.: 2:19-cv-02553-JMY

            v.

    CVS HEALTH CORPORATION, et al.,

                             Defendants.


                         STIPULATION AND ORDER GOVERNING
                        SPECIAL DISCOVERY MASTER PROTOCOL

       AND NOW, this 22nd
                     ____ day of August 2023, the Court, having appointed Bruce Merenstein,

Esq., as Special Discovery Master to facilitate the resolution of discovery disputes, and the Court

having reviewed Mr. Merenstein’s affidavit submitted pursuant to Fed. R. Civ. P. 53(b)(3)(A) and

finding that there are no grounds for disqualification under 28 U.S.C. § 455 hereby enters the

following Protocol which governs proceedings among the parties, subject to modification as the

Court may so order:

       Duties of the Discovery Master. The Discovery Master has been appointed to oversee

discovery and to resolve any discovery disputes, as set forth in this Protocol. Fed. R. Civ. P.

53(b)(2)(A). Discovery disputes are to be resolved according to the following procedures:

           1. Before any discovery dispute may be presented to the Discovery Master, the parties

                 shall promptly meet and confer in good faith in an attempt to resolve the matter. In

                 the event that the parties are unable to resolve the matter, the party wishing to raise

                 the matter with the Discovery Master shall proceed by stating the substance of the

                 dispute in a letter to the Discovery Master, copying the opposing party, of no more


                                                   1
          Case 2:19-cv-02553-JMY Document 93
                                          92 Filed 08/22/23 Page 2 of 6




               than 1,000 words per discrete issue, exclusive of any caption, address, signature,

               and exhibits.1 The opposing party may respond by letter to the Discovery Master,

               of no more than 1,000 words per discrete issue, exclusive of any caption, address,

               signature, and exhibits, within three (3) business days after receiving the prior letter.

               Replies are not permitted absent leave of the Discovery Master.

           2. The Discovery Master will convene a conference call with the parties upon his

               receipt of both parties’ letters, unless he determines that a conference call is

               unnecessary. The conference shall not be recorded unless both parties consent or

               the Discovery Master directs otherwise. The Discovery Master will then issue an

               informal written decision with a recommended resolution of the dispute. The parties

               must inform the Discovery Master within (3) three business days if they accept his

               informal resolution of the dispute, however the Discovery Master may extend this

               deadline in his discretion and upon the request of either party.

           3. If either party informs the Discovery Master that they do not accept his informal

               resolution of the dispute, he shall file on the docket an Order and Report, pursuant

               to Fed. R. Civ. P. 53(d) and (e), memorializing the Discovery Master’s disposition

               of the dispute.

       Judicial Review. Any party may file objections on the docket to any Order and Report filed

by the Discovery Master. Any such objection shall be filed within five (5) business days of the

Discovery Master’s filing of the Order or Report and shall be no more than 1,500 words per

discrete issue. Fed. R. Civ. P. 53(f)(2). Any responsive brief shall be filed within five (5) business



1
  The parties must determine in good faith whether an issue is discrete. The parties may address
several discrete issues in a single letter or file separate letters in their discretion.


                                                  2
          Case 2:19-cv-02553-JMY Document 93
                                          92 Filed 08/22/23 Page 3 of 6




days of the objection and shall be no more no more than 1,500 words per discrete issue. Replies

are not permitted absent leave of Court. The Court shall review objections in accordance with Fed.

R. Civ. P. 53(f)(3)-(5). Absent a timely objection, and unless the Court expressly directs otherwise,

the filed Order and Report of the Special Master shall be deemed final and binding to the same

extent as an order issued by the Court.

       Reasonable Diligence. In performing his duties as set forth herein, the Discovery Master

must proceed with all reasonable diligence. Fed. R. Civ. P. 53(b)(2).

       Ex Parte Communications. The Discovery Master may, if he deems it appropriate,

communicate ex parte with the Court. The Discovery Master may also communicate ex parte with

either party only with the prior express consent of all parties. Fed. R. Civ. P. 53(b)(2)(B).

       Compensation. The Special Master shall be compensated at an hourly rate of $800 to be

billed on a monthly basis and borne evenly by the Plaintiff-Relator (50%) and Defendants (50%).

Should the Special Master deem it necessary to use an associate to assist with his work, the

associate will be compensated at an hourly rate of $400. Fed. R. Civ. P. 53(b)(2)(E).




                                                  3
        Case 2:19-cv-02553-JMY Document 93
                                        92 Filed 08/22/23 Page 4 of 6




Dated: August 22, 2023             Respectfully Submitted,

                                   /s/ W. Scott Simmer
                                   W. Scott Simmer (pro hac vice)
                                   William G. Powers (PA Bar No. 316876)
                                   Michael von Klemperer (pro hac vice)
                                   Noah M. Rich (pro hac vice)
                                   BARON & BUDD, P.C.
                                   The Watergate
                                   600 New Hampshire Ave. NW,
                                   10th Floor
                                   Washington, DC 20037
                                   Telephone: (202) 333-4562
                                   Facsimile: (202) 337-1039

                                   Joe H. Tucker, Jr., Esquire
                                   Scott E. Diamond, Esquire
                                   Ten Penn Center
                                   1801 Market Street, Suite 2500
                                   Philadelphia, PA 19103
                                   (215) 875-0609
                                   jtucker@tlgattorneys.com
                                   sdiamond@tlgattorneys.com

                                   Counsel for Relator Ellsworth Associates, LLP

                                   /s/Jennifer B. Routh
                                   Russell Hayman (pro hac vice)
                                   MCDERMOTT WILL & EMERY LLP
                                   2049 Century Park East
                                   Suite 3200
                                   Los Angeles, CA 90067
                                   (310) 277-4110
                                   Edward B. Diskant (pro hac vice)
                                   MCDERMOTT WILL & EMERY LLP
                                   One Vanderbilt Avenue
                                   New York, NY 10017
                                   (212) 547-5400
                                   Lesli C. Esposito (PA Bar No. 201906)
                                   Jennifer B. Routh (pro hac vice)
                                   Theodore E. Alexander (pro hac vice)
                                   Crystal Fomba (pro hac vice)
                                   MCDERMOTT WILL & EMERY LLP
                                   500 North Capitol Street
                                   Washington, DC 20001



                                      4
      Case 2:19-cv-02553-JMY Document 93
                                      92 Filed 08/22/23 Page 5 of 6




                                 Counsel for Defendants CVS Health Corporation;
                                 CVS Pharmacy, Inc.; SilverScript Insurance
                                 Company, LLC; and CVS Caremark Part D Services
                                 LLC, Caremark LLC




PURSUANT TO STIPULATION, IT IS SO ORDERED.


                                    /s/ John Milton Younge
                                    _______________________________________
                                    UNITED STATES DISTRICT COURT JUDGE




                                    5
         Case 2:19-cv-02553-JMY Document 93
                                         92 Filed 08/22/23 Page 6 of 6




                                    CERTIFICATE OF SERVICE

       I certify that on August 22, 2023 this document was filed electronically, that it is available

for viewing and downloading from the ECF system, and that all counsel of record will be served

by the ECF system.

                                              /s/ W. Scott Simmer




                                                 6
